Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 1 of 35




                    Exhibit 2
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 2 of 35




         Correctional Alternative
          Rehabilitation (CAR)
                 Program



                      Anthony J. Annucci
                     Acting Commissioner




                          December 21, 2017
   Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 3 of 35
                                                           New York State DOCCS
                                                            CAR Program Manual




                                Approved by:




                                               Date

Assistant Commissioner




                                     2



12/2017
   Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 4 of 35
                                                               New York State DOCCS
                                                                CAR Program Manual

                                  TABLE OF CONTENTS:


Introduction                                                  Page4
Program Definitions and Program Description                   Page4
Target Population                                             Page4
Program Goals                                                 Page5
Management and Rehabilitation Considerations                  Page5
Referral & Admission Process                                  Page5
Program Review Committee                                      Page6
Discharge Process                                             Page6
Program Design                                                Page7
Behavioral and Program Report Cards                           Page7
Informational Reports                                         Page8
Chronic Refusers                                              Page8
Level Overviews                                               Page8
Structure of Rehabilitation                                   Page9
Assessment and Orientation                                    Page9
Rehabilitation Level 1                                        Page9
Rehabilitation Level 2                                        Page10
Level Regression                                              Page10
Property Movement/Security Restraint                          Page10
CAR Group Therapy Program                                     Page11
GTP Referral Process                                          Page11
GTP Program Description                                       Page 11
GTP Discharge Process                                         Page 11
GTP Incentive System                                          Page 12
CAR Incentives                                                Page12
DOCCS Disciplinary System                                     Page13
Quality Improvement and Outcome Evaluation                    Page13
Staff Training                                                Page13

Appendices:

Appendix1-    Assessment Form                                 Pages14-16
Appendix2-    Referral Form                                   Page17
Appendix 3-   Discretionary Time Cut Review Form              Page18
Appendix4-    CAR Program Review Committee Meeting Minutes    Page19
Appendix5-    Discharge Recommendation Form                   Page20
Appendix6-    Rehabilitation Plan Template                    Pages21-22
Appendix7-    Report Card- Behavioral Guideline and Tracker   Page23
Appendix8-    Report Card- Program Attendance Form            Page24
Appendix9-    Informational Report                            Page25
Appendix10-   Chronic Refuser Procedure and Tracker           Pages26-27
Appendix11-   Orientation Schedule                            Page28
Appendix12-   Inmate Incentive List                           Page29
Appendix13-   Exceptional Circumstance Memo and Form          Pages30-32
Appendix14-   GTP Rehabilitation Plan                         Page33




                                               3



12/2017
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 5 of 35
    Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 6 of 35

                                                                                      New York State DOCCS
                                                                                       CAR Program Manual

Program Goals

The CAR Program provides evaluation, interventions and supportive rehabilitation services for any DOCCS
inmate meeting admission criteria. The program's goal is to assist inmates with developing skills and
providing supports that will facilitate, upon completion of SHU/KL sanctions, integration into the general
prison population or a special program.

Management and Rehabilitation Considerations

As a group and individually, CAR Program inmates may be challenging to engage in rehabilitation and may
have varying degrees of maladaptive behavior. The CAR Program is designed to ensure the personal
safety of all individuals involved and to promote and maintain pro-social, non-violent, and adaptive
behavioral skills.

CAR Program inmates require specialized behavioral management and cognitive behavioral interventions
addressing underlying attitudes, beliefs, emotional deficits, coping skills deficits, and impulsivity that may
give rise to their maladaptive behaviors. Program modules targeting cognitive and behavioral deficits will
be offered.

Group programming will be offered based on individual assessments. Groups may include, but are not
limited to the following areas; improving self-control, improving social skills, enhancing positive social
relationships and reducing negative behavior.

                         Referral, Admission, and Discharge Planning Process

Referral Process

Identified inmates who receive a sanction of more than thirty (30) days confinement in SHU/KL following
the completion of a Tier Ill hearing, paired with a documented BETA/WAIS IQ of 70 or below will be referred
to CAR via the CAR Referral Form (Appendix 2). Upon receipt of the referral, DOCCS Bureau of Mental
Health Services will review and make a determination on the appropriateness for the CAR Program. Further
testing, such as an ABAS, may be recommended at that time to aid in the review for appropriate placement.

Admission Process

Once an inmate has been reviewed and accepted by DOCCS for admission to the program, the DOCCS
Bureau of Mental Health will coordinate the transfer review through the DOCCS Office of Classification and
Movement. The process of actual admission as well as clothing and amenities issued to the CAR Program
will be described in the CAR Program Facility Operations Manual.




                                                      5



12/2017
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 7 of 35
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 8 of 35
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 9 of 35
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 10 of 35
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 11 of 35
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 12 of 35
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 13 of 35
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 14 of 35
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 15 of 35
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 16 of 35




  IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 17 of 35




  IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 18 of 35




  IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 19 of 35




  IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 20 of 35




  IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 21 of 35




  IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 22 of 35




  IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 23 of 35




  IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 24 of 35




  IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 25 of 35




  IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 26 of 35




  IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 27 of 35




  IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 28 of 35
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 29 of 35




                IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 30 of 35
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 31 of 35




  IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 32 of 35
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 33 of 35




  IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 34 of 35




  IL
FO
Case 2:14-cv-00601-MHT-JTA Document 3623-2 Filed 06/01/22 Page 35 of 35




  IL
FO
